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                   UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MINNESOTA


UNITED STATES OF AMERICA
U.S. Department of Justice
950 Pennsylvania Avenue NW
Washington, DC 20530


STATE OF MINNESOTA
445 Minnesota Street, Suite 1400
St. Paul, MN 55101


STATE OF CALIFORNIA
300 S. Spring St.
Los Angeles, California 90013


STATE OF NORTH CAROLINA
114 W. Edenton Street
Raleigh, NC 27603


STATE OF TENNESSEE
P.O. Box 20207
Nashville, TN 37202

                       Plaintiffs,

   v.                                      No.: 0:23-CV-03009-JRT-JFD


AGRI STATS, INC.
6510 Mutual Drive
Fort Wayne, IN 46825

                       Defendant.
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                               AMENDED COMPLAINT

       For years, Agri Stats, Inc. has recruited the nation’s largest meat processors to

exchange detailed information about their prices, costs, and production plans. Each week,

competing processors send competitively sensitive information from their internal

accounting systems to Agri Stats. After auditing and standardizing these troves of data,

Agri Stats creates and distributes comprehensive reports detailing competing processors’

pricing, margins, inventories, and operations.

       Agri Stats operates its information exchanges to promote total industry profits at the

expense of competition. It does this by providing processors with unique insights about

their competitors’ production, costs, and pricing—and refusing to sell the same information

to processors’ customers, farmers, workers, or consumers. Agri Stats enables and

encourages processors to use its asymmetrical information exchanges to weaken

competition, curb production, and increase prices for purchasers. And processors follow

this advice—ultimately harming consumers. The Agri Stats model was so effective in

encouraging anticompetitive price increases that a Tyson executive explained, “we not only

have to increase our price but we also have to out run our competitors[’] improvements.”

       Agri Stats’ conduct is unlawful and must be enjoined. The United States and

Plaintiff States bring this action for violations of Section 1 of the Sherman Act, 15 U.S.C.

§ 1, to stop Agri Stats’ anticompetitive scheme and restore competition to heartland U.S.

agriculture markets.



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I.     INTRODUCTION

       1.     Each day, U.S. meat processors produce millions of pounds of chicken, pork,

and turkey—staples of many Americans’ diets. These processors largely control the supply

chains that deliver meat from farms to grocery stores and restaurants, including the

processing facilities that turn live poultry and livestock into traditional meat products.

       2.     Over the past two decades, Agri Stats has recruited and enabled all major

U.S. chicken, pork, and turkey processors to exchange competitively sensitive information

through its exclusive subscription and consulting business. Chicken, pork, and turkey

processors that should be vigorous competitors have provided Agri Stats with detailed data

about their current costs, output, and prices. Processors understand the competitive

sensitivity of the information they provide to Agri Stats.

       3.     Agri Stats then audits the data, manipulates it to facilitate comparisons, and

distributes it back to processors in a variety of different reports, often less than a week after

receiving the information. The result is thousands of pages of reports spanning the

processors’ operations—including reports covering live production, processing, sales, and

profitability of the broiler chicken,1 pork, and turkey industries. The loosely anonymized

reports contain competitively sensitive information about each industry and, frequently,

each processor’s facilities operating in these industries. As former Agri Stats President




1
 “Broiler” chickens refer to chickens raised for meat consumption that are slaughtered
before the age of 13 weeks.
                                             1
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Blair Snyder stated, “[I]t’s like Agri Stats is doing the accounting for the whole industry .

. . .”

         4.   By design, Agri Stats focuses on raising industry-wide profitability of the

meat industries it services, which can harm competition. Although it could be profitable

for a processor to increase production when its prices are below those of its competitors,

doing so would tend to lower industry profits; Agri Stats instead enables and encourages

processors to increase prices and restrict output to boost profits industry-wide. As one Agri

Stats employee stated, “A common saying in the Agri Stats circle is that ‘you cannot

produce your way to the top . . . .’” Executives at some of the country’s largest meat

processors testified that they could not recall any examples in which their companies used

Agri Stats information to lower their sales prices to gain market share. An executive at

Smithfield, a pork processor, summarized Agri Stats’ consulting advice in four words:

“Just raise your price.”

         5.   Agri Stats designs its reports so that a processor does not need to

communicate directly with other processors to determine their intentions, but instead can

look at the reports to forecast what competitors will do. And processors pay Agri Stats

millions of dollars for these reports, which the processors in turn use to limit competition.

For example, Agri Stats provides weekly sales reports that compare the processor’s prices

to national averages and ranks the processor’s prices compared to the prices competitors

charged for the same products. Using these reports, processors target products priced low

compared to their competitors’ products for price increases—a practice some processors

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refer to as “chasing price” or “pricing with courage.” A processor learns of these non-

public opportunities only because Agri Stats collects competitively sensitive pricing

information from nearly all other processors.

       6.     Other Agri Stats reports provide processors with metrics allowing them to

forecast and monitor competitor output and confidently restrain production when it is

profitable to do so, which can lead to higher prices.2 Even though Agri Stats masks some

of the information it collects, processors receive enough detailed data to allow them to

forecast the plans of competitors. For example, the former CEO of Sanderson Farms

assured investors during a 2009 call that Sanderson could maintain its current production

levels because information provided by Agri Stats confirmed that his competitors were not

planning on increasing production, “It makes no sense for us to ramp up. . . . [P]eople are

not planning on ramping up. I see a lot of information from Agri Stats that tells me that

nobody’s going to ramp up.”

       7.     Agri Stats shares information about upstream markets as well, including

competitively senstitive information related to suppliers, service providers, and workers.

Agri Stats provides processors with detailed information about how their competitors

compensate workers, including wage rates, farmer (or grower) pay, and other

compensation metrics. While the processors willingly share this information with each


2
 Higher prices refers to prices that are higher than what a purchaser would pay absent the
anticompetitive behavior at issue. This may include, for example, stabilized prices that do
not decrease as much as they would in a competitive market. Likewise, supply limitations
may include maintaining a consistent supply or slowing the rate of supply increases.
                                            3
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other through Agri Stats, Agri Stats refuses to make the same information available to

workers and farmers.

       8.     To help enable processors to boost margins industry-wide rather than

compete by lowering prices to increase sales, Agri Stats produces a profit margin report

that allows competitors to evaluate their profit margin performance relative to competitors.

Processors have then used this information to make executive bonus decisions. Such

bonuses were not based on the firm’s total profits, but were instead tied to the firm’s profit

margin relative to its competitors. Focusing on relative margins, rather than a processor’s

own profits, tends to maintain high industry prices and profits.

       9.     Agri Stats refuses to make its reports available to meat purchasers and others

in the protein supply chain, thereby strengthening the advantage processors gain by sharing

information only with one another. As an Agri Stats employee explained to a restaurant

group representative who sought access to Agri Stats data, “It would not be prudent for us

to make this information available to non-users. Can you imagine if Tyson came in to

negotiate with you and you started the conversation with, ‘[W]ell Agri Stats gave us profit

information and it says . . . .’ That would not be a good situation for us.”

       10.    Further, Agri Stats tells these processors how to use the information to

weaken competition. Agri Stats sells consulting services to the processors and has advised

nearly all of the major processors in the broiler chicken, pork, and turkey industries—often

with individual employees advising several competing processors simultaneously.

Accordingly, Agri Stats does not advise its customers to compete more vigorously against

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each other or take sales from one another; rather it enables and encourages processors to

raise total industry profits.

       11.     Agri Stats has organized several anticompetitive information exchanges,

padding its own pockets while its subscribing processors earn millions by using

information exchanged through Agri Stats to suppress competition. Meanwhile, American

consumers have paid higher prices for staple food items, including chicken, pork, and

turkey. The United States and Plaintiff States seek to stop these unlawful information

exchanges.

II.    AGRI STATS AND ITS CO-CONSPIRATORS

       12.     Founded in 1985, Agri Stats is an Indiana for-profit corporation that has

operated a subscription and consulting service in numerous meat processing industries.

From 2013 to 2018, Agri Stats was a subsidiary of Eli Lilly & Company. Eli Lilly spun off

the company after private plaintiffs named Agri Stats as a defendant in multiple private

antitrust class action lawsuits. Today, a consortium of individuals, including four of Agri

Stats’ senior officers and two foreign nationals, nominally own Agri Stats through a

network of holding companies. A subsidiary of TBG AG (the Thyssen-Bornemisza Group),

a Swiss venture capital firm, provided nearly all of the funding to purchase Agri Stats.

       13.     Agri Stats owns Express Markets, Inc. (“EMI”), an Indiana for-profit

corporation established in 2001. EMI operates out of the same building as, and shares staff

with, Agri Stats. The two companies frequently operate interchangeably, and processors



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refer to Agri Stats and EMI as “one and the same.”3 EMI provides forecasting and pricing

analyses for the broiler chicken, pork, turkey, egg, and beef industries that are typically

more aggregated than Agri Stats-branded reports and typically made available to non-

processor customers. Even so, EMI occasionally makes certain reports or information

available only to processors, just as Agri Stats does with its reports.

       14.    Agri Stats’ business model involves establishing and operating information

exchanges among direct competitors. In each industry where Agri Stats operates, Agri Stats

agrees with its subscribing processors, and the processors agree with each other, to use

Agri Stats to exchange competitively sensitive information. Agri Stats’ co-conspirators in

each industry include:

              ▪      Broiler Chicken: Allen Harim Foods, LLC, Amick Farms, LLC
                     (“Amick Farms”), Case Farms,4 Norman W. Fries, Inc. (d/b/a Claxton
                     Poultry Farms), Fieldale Farms Corp., Foster Poultry Farms (“Foster
                     Farms”), George’s,5 Harrison Poultry, Inc., Holmes Foods, Inc.,
                     House of Raeford Farms, Inc. (“House of Raeford”), Koch Foods, Inc.
                     (“Koch Foods”), Mar-Jac Poultry,6 Mountaire,7 O.K. Foods, Inc.,
                     Peco Foods, Inc., Perdue,8 Pilgrim’s Pride Corp. (“Pilgrim’s”),



3
  A recent contract between Agri Stats and a large broiler processor stated that “Agri Stats
offers EMI Price Discovery and Analytics,” treating the companies as one.
4
  “Case Farms” refers collectively to the affiliated entities Case Foods, Inc., Case Farms,
LLC, and Case Farms Processing, Inc.
5
  “George’s” refers collectively to the affiliated entities George’s, Inc. and George’s Foods,
LLC.
6
  “Mar-Jac Poultry” refers collectively to the affiliated entities Mar-Jac Poultry, Inc. and
Mar-Jac Poultry LLC.
7
   “Mountaire” refers collectively to the affiliated entities Mountaire Farms, Inc. and
Mountaire Farms of Delaware, Inc.
8
  “Perdue” refers collectively to the affiliated entities Perdue Farms, Inc. and Perdue Foods,
LLC.
                                                6
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                     Sanderson Farms, LLC (“Sanderson Farms”),9 Simmons Foods, Inc.,
                     Tyson,10 and Wayne Farms, LLC (“Wayne Farms”);

              ▪      Pork: Clemens Food Group, LLC (“Clemens”), Hormel Foods
                     Corporation (“Hormel”), Indiana Packers Corporation, JBS USA
                     Food Company, LLC (“JBS”), Seaboard Foods, LLC (“Seaboard”),
                     Smithfield Foods, Inc. (“Smithfield”), Triumph Foods, LLC
                     (“Triumph”),11 and Tyson;

              ▪      Turkey: Butterball, LLC (“Butterball”), Cargill,12 Cooper Farms, Inc.
                     (“Cooper Farms”), Dakota Provisions, LLC, Farbest Foods, Inc.
                     (“Farbest”), Foster Farms, House of Raeford, Hormel, Jennie-O
                     Turkey Store, Inc. (“Jennie-O”), Kraft Heinz Foods, Michigan Turkey
                     Producers, LLC, Perdue, Prestage,13 Tyson, and West Liberty Foods,
                     LLC.

       15.    Agri Stats paused its turkey and pork processing reports in late 2019 in

response to private antitrust litigation, but its executives have stated that they want to

resume reporting in these industries once that litigation concludes.




9
  As of 2022, Sanderson Farms and Wayne Farms are under common ownership. When
referring to the combined entity, the complaint refers to “Sanderson-Wayne.” Otherwise,
references to “Sanderson Farms” refers to Sanderson Farms, LLC and its predecessor
entities and “Wayne Farms” refers to Wayne Farms, LLC and its predecessor entities.
10
   “Tyson” refers to the affiliated entities Tyson Foods, Inc., and Keystone Foods, LLC.
11
   Seaboard and Triumph operate as a joint venture for certain purposes. If referring to the
joint venture entity, the complaint refers to “Seaboard/Triumph.”
12
   “Cargill” refers both to Cargill Meat Solutions Corporation and its parent company
Cargill, Inc.
13
   “Prestage” refers to Prestage Farms, Inc., Prestage Foods, Inc., and Prestage Farms of
South Carolina, LLC.
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III.   AGRI STATS PROFITS BY MANAGING THE EXCHANGE OF SENSITIVE
       INFORMATION AMONG COMPETITORS

       16.    Agri Stats operates an information-sharing scheme that allows processors to

exchange competitively sensitive information about their operations and sales that is

comprehensive, granular, current, and available exclusively to processors.14

       17.    Agri Stats collects competitively sensitive information that processors

ordinarily would not disclose to competitors. Agri Stats does not gather information

through voluntary surveys or periodic polling. Instead, it secures from processors a “direct

download of general ledgers and internal reports.” When a processor becomes an Agri Stats

subscriber, or when an existing subscriber adds a new facility, Agri Stats sends a “setup

specialist” onsite to map the processor’s data to Agri Stats’ systems. The implementation

process takes two to three weeks, but once completed, processors can send vast quantities

of data with minimal effort. This allows Agri Stats to quickly disseminate information on

nearly every quantifiable metric, sometimes in a matter of days.

       18.    Processors share information with Agri Stats on all aspects of their

businesses, from the hatching of chicks or birth of livestock, through the raising and

slaughter of animals for meat, to customer delivery. In the broiler chicken industry, for

example, Agri Stats receives data on live production, processing, and sales, including:


14
  Agri Stats provides significantly limited versions of its reports to “allied participants”—
a “very select” group that Agri Stats believes “will use the data for the betterment of the
industry and the profitability of [its] customers.” Allied participants generally include
pharmaceutical companies that use the data to track the efficacy of drugs used in animals,
poultry genetics companies, and trade associations.
                                             8
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   Live Production            Processing               Sales
   • Quantity of Breeder       • Wage Rates            • Each Sales Transaction,
     Chicks Placed             • Overtime                including:
   • Housing Costs             • Line Speed              o Purchasing Customer
   • Feed Costs                • Insurance Costs         o Price Charged
   • Bird Weights              • Product Yield           o Products & Amounts
   • Hatching Metrics          • Maintenance Costs          Sold
   • Mortality Rates                                   • Product Mix
                                                       • Freight Costs

      19.    Agri Stats audits the data it collects to ensure its reliability, thereby

preventing processors from hiding or withholding information from their competitors. By

validating the accuracy and completeness of the information, Agri Stats reduces common

challenges to coordination—distrust among competitors and “cheating” on agreements.

Agri Stats boasted in one presentation that it provides more trustworthy information than

what a processor might receive directly from a competitor (Fig. 1).




                                        Figure 1

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       20.     Agri Stats converts the data shared by processors to common metrics so they

can make apples-to-apples comparisons across their operations and sales. If processors

exchanged internal ledgers directly, they would need to account for each other’s differing

accounting methods and processes. Agri Stats eliminates that barrier to coordination. For

example, Agri Stats sales reports group products based on characteristics such as form,

weight, grade, preservation method, and packaging, which allows processors to assess how

their prices compare to weighted averaged prices of the same products sold by

competitors.15 Agri Stats processing reports similarly group workers into job categories

and provide wage and benefits information in a unified form so that processors can

compare employee wages and benefits in common metrics.

       21.     Agri Stats compiles the data into “books” that it distributes back to the

processors. Each book contains comprehensive “reports” detailing each competitor’s

performance on various business functions. The books that Agri Stats produces are

hundreds of pages long and replete with company- and facility-level information. Agri

Stats’ former president described a typical book of reports as “a phonebook of information.

. . . It’s an inch and a half, two inches thick.”

       22.     The data that Agri Stats distributes is current. For example, broiler chicken

weekly sales reports, which include pricing data, are typically published on Thursdays and

include the previous week’s data. For pork, Agri Stats provided an online data system


15
  Agri Stats sales reports will report these weighted average prices with as few as two
processors (i.e., the recipient and one other processor).
                                               10
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called “Dataminer,” which included data from the previous week. Processors could query

Dataminer to quickly and efficiently determine how their prices varied from the national

average.

       23.    Agri Stats also publishes monthly reports that include information that is

between thirty and sixty days old. Such current data gives processors a near-real-time

understanding of their competitors’ pricing, output, and costs, which enables the processors

to reduce competition.

       24.    To ensure processors provide comprehensive information, Agri Stats

regularly enforces a “give-to-get” policy that requires each processor to share complete

data for each of its facilities. Agri Stats uses its position as a third-party intermediary to

ensure that each processor contributes complete information to further the overall

cooperative objective: increased profits for all processors.

       25.    Agri Stats provides processors with the names of the companies and facilities

participating in its various reports.16 Processors actively monitor these lists and contact

Agri Stats if certain competitors do not appear. For example, after Seaboard temporarily

left the pork reports in 2017, Smithfield’s Vice President of Finance wrote to an Agri Stats

employee, “[W]here are you on Seaboard[’]s re entry into your program? January results?”

The Agri Stats employee responded, “Still in discussions but they will not be present in the



16
  Competitor data is superficially anonymized in Agri Stats reports. As discussed below,
however, processors can and do deanonymize the data, linking particular data to
individual processors and processor facilities.
                                             11
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January report.” She later assured the Smithfield Vice President of her attempts to include

its competitor in future reports: “Believe me I’m trying like hell[.]”

       26.    Some processors explicitly made their participation contingent on their

competitors’ participation. For example, in an effort to entice Tyson into providing data

for all of its pork plants, Agri Stats made a “commitment to get JBS and Hormel completely

onboard as well.” Agri Stats kept Tyson apprised of efforts to recruit Tyson’s competitors

and JBS and Hormel joined the reports, as Agri Stats committed, within the year.

       27.    The “give-to-get” policy also ensures that the processors’ customers—

including grocery stores and restaurants that buy broiler chicken, pork, and turkey

products—do not obtain the information shared among the processors. When meat

purchasers and workers have sought Agri Stats reports, Agri Stats has refused. Asked why

Agri Stats adopted this policy, Agri Stats’ President explained, “[O]ur customers are the

producers. We don’t get in the way of the relationship between the producers and the

buyers.”

IV.    AGRI STATS SHARES COMPETITIVELY SENSITIVE INFORMATION THROUGH
       WRITTEN REPORTS AND DIRECT COUNSELING

       28.    Through its reports and consulting services, Agri Stats provides processors

with thousands of data points that allow them to understand their competitors’ businesses.

The information that Agri Stats collects and distributes is available nowhere else, and

processors have regularly used this information to inflate prices and restrict output.




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       A.        Agri Stats Reports

       29.       The most apparent way Agri Stats shares information among competitors is

through its written reports, which are organized into “books.” Agri Stats produces a number

of books consisting of standard and custom reports covering the various stages of

production, including live production, processing, sales, and operations profits.

             • The “sales” book includes reports comparing a processor’s pricing for
               specific packaged cuts of meat with aggregated sales information compiled
               from competitors’ sales.

             • The “live production” book includes reports that provide details on each
               facility’s costs and expenses for raising an animal for slaughter.

             • The “processing” book includes reports that list each facility’s costs and
               expenses for slaughtering an animal and dividing it into parts for sale.

             • The “operations profits” book includes reports that use information from
               the live production, processing, and sales books to provide information on
               each participating facility’s profit margins.

             •   The “bottomline report” is a short report that ranks each participating
                 processor based on company-level profit margins on a per animal and per
                 pound basis.

       30.       In each industry, Agri Stats issues targeted reports that may come included

in one of the “books” or as a standalone report. For example, as part of the turkey sales

books, Agri Stats included more targeted “Retail and Deli” sales reports, providing sales

data for deli turkey products. In pork, Agri Stats produced an Export Sales Report tracking

pork sales data broken down by product type to foreign countries. Agri Stats also circulated

to broiler chicken processors a “Freezer Inventory Report” providing information on the

industry current total inventories, which correlates with price.

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       31.    In addition, processors frequently request other customized reports, such as

processing reports that compare only processing facilities slaughtering broiler chickens of

a certain size or sales reports that focus on a particular product segment, like consumer tray

pack sales.

       32.    Each report presents information in different ways. Some contain

information about each competitor on a facility-by-facility basis, while other reports

contain key metrics and data about highly specific product types. Two particular types of

reports, sales and live production, are discussed in detail below.

              1.     Agri Stats Sales Reports

       33.    Several different Agri Stats books provide processors with competitively

sensitive price information. Certain Agri Stats sales reports provide information on

competitors’ invoice prices on a company-basis for particular categories of meat (e.g.,

turkey deli meat).

       34.    Other reports provide information for specific cuts of meat (identified at the

near-SKU level).17 Agri Stats provides the weighted average and top quartile prices and

tells processors where their price ranks among competitors’ prices for the same items. This

pricing information is recent (from the prior week for weekly reports and 30-60 days

removed for monthly reports). Agri Stats defines each item by its cut, trim, weight,




17
  “SKU” refers to “stock keeping unit” and is used to identify and track distinct types of
items sold for inventory purposes.
                                             14
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preservation method, and packaging, allowing processors to see where their prices rank

against competitors’ prices for like items.

       35.    For example, poultry processors sell millions of pounds of chicken breasts

each week to wholesalers, grocery stores, and restaurants. Agri Stats divides this category

into smaller subcategories based on whether the cuts are left whole, sliced, diced, cut into

strips, or trimmed of fat. Agri Stats then further separates these cuts by preservation method

(e.g., ice, carbon dioxide, vacuum packed, frozen, poly bagged) and packaging (e.g., boxed,

“combo bin,” bagged, consumer/retail ready, regular tray pack, jumbo tray pack). By

reporting on these more detailed categories, Agri Stats allows processors to compare prices

on similar items at the near-SKU level sold to like customers.

       36.    Figures 2 and 3 feature a single line from a weekly Agri Stats broiler sales

report providing information on a category of marinated chicken drumsticks, chilled, and

packaged in jumbo tray packs (Fig. 2 at (b)).18 For this particular item, Agri Stats tells the

processor how much of the product it sold (Fig. 2 at (c)) and how much the industry sold

(Fig. 2 at (c.2)), allowing the processor to determine that its sales made up approximately

19% of the national sales for that week (Fig. 2 (c)÷(c.2)).




18
  Figures 2 and 3 appear as a single line in the report, but are separated here to make
them more legible.
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                                            Figure 2

       37.     For each item, the sales report also tells each processor the average price it

charged (Fig. 3 at (d)) as well as the average industry price (Fig. 3 at (d.1)) and top quartile

price (Fig. 3 at (d.2)) charged for like items. It then ranks the processor’s price (Fig. 3 at

(e)), with the top rank going to the processor with the highest price. In this example, Agri

Stats tells the processor that its price “ranked” seventh out of the eight sellers of this product

during the week (Fig. 3 at (e)), meaning its price was the seventh lowest of the eight sellers.




                                            Figure 3

       38.     A processor that learns it has a low rank on price for an item—such as

seventh out of eight competitors—can raise prices on that item with reduced uncertainty

about losing business to a competitor based on price.

       39.     The average and top quartile prices provide the processor with additional

details to guide its pricing. The Agri Stats sales report tells the processor how far below

the industry average price and below the top quartile price (Fig. 3 at (e), (e.1.) & (e.2)) its


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price fell, and it quantifies the economic impact of leaving the price at below average and

below top quartile prices as lost revenue (Fig. 3 at (f) and (f.1)). This information is

particularly valuable where only a small number of processors—sometimes as few as

two—sell comparable items.

       40.    As discussed later, processors have routinely relied on the weighted average

price and weighted top quartile price information to identify particular items for price

increases. Processors in each industry, often with Agri Stats’ assistance, identified those

items priced below the Agri Stats average as “opportunities” to impose price increases.

              2.     Agri Stats Live Production Reports

       41.    Agri Stats live production books comprise reports that provide facility-by-

facility information on the production levels of each participating processor. Processors

receive comprehensive reports that include all competitors, as well as more targeted reports

that provide information about a select set of competing facilities.

       42.    Consider the following excerpt from the broiler chicken live production book

for February 2013, which provides production information about facilities that process

birds weighing more than 7.5 pounds.19 Agri Stats provides each processor receiving this




19
  Processors use birds of different sizes to produce different products. For example, a
processor producing chicken breasts for sale to quick service restaurants may use smaller
birds to make the ideal sized product for a chicken breast sandwich, while a company
producing chicken tenders from breast meat might opt for using a larger size cut of breast
meat.
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report with a list of each facility—by company and location—processing that size bird

(Figure 4):




                                      Figure 4




                                         18
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       43.     The live production book then provides detailed information about the

growing of poultry or livestock for each contributor, such as the breeder chick placements

(also known as “pullets”) associated with each broiler chicken processing facility.20 Figure

5 is an excerpt from a report titled “Monthly Breeder Chick Placement by Plant.” In this

report, each processing facility is represented by a line number (“LIN”) and the female

(a.1.) and male (b.1.) breeder chick placements are stated for each facility. The reports

compare breeder chick placements at each facility to the previous year’s placements (Fig.

5 at (a.2) and (b.2)).




 Breeder chicks are called “pullets” when referring to broiler hens and “breeder poults”
20

when referring to turkey hens.
                                         19
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                                         Figure 5

       44.    In addition to facility-level information, the report provides industry-wide

figures, including the total number of breeder chick placements and how those numbers

compare with the previous year. Specifically, the report discloses that placements have

increased by 45.80% for female chicks and by 45.37% for male chicks (Fig. 5, line 34 at

(a) and (b)). Unlike public data sources that rely on voluntary reporting, the breeder chick

placement information here is comprehensive (all subscribers contribute) and is available
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for different-sized birds so processors can track whether processors are expanding

production in certain sales channels.

       45.    As Agri Stats has stated in its live production customer manual (Fig. 6), the

purpose of providing breeder chick information is to “help forecast Broilers & pounds

produced for future months.”




                                          Figure 6

       46.     Breeder chicks begin laying eggs at about six months after placement. When

a broiler chicken processor is planning to expand, typically it needs to begin increasing the

size of the hatchery supply flock by increasing breeder chick placements approximately six

months in advance. Monitoring breeder chick placements allows processors to forecast the

future production plans of competitors.

       47.    Joe Sanderson, the former CEO of Sanderson Farms, specifically referred to

tracking “pullet placements” in Agri Stats reports when he assured investors that Sanderson

had no plans to increase production because his competitors were not doing so. He also

explained that he could track production in terms of bird weight across sales channels (big

bird, small bird, track pack) using Agri Stats:
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              I think the increase in Agri Stats that showed up in 2009 in
              weight, was primarily in the tray pac[k] region. There was a
              nominal increase in the big bird deboning but it was very slight.
              The tray pac[k] region increased more than anyone else, but it
              has not changed in about six months now and I think that has
              topped out. Small bird hasn’t increased any. I don’t really
              anticipate very much movement in weights any more in 2010.
              I don’t see any more head until we see some improvement in
              pricing, so I think head count is going to run close to what we
              have.21

       B.     Agri Stats Sales Consulting

       48.    In addition to providing processors with written reports, Agri Stats meets

with individual subscribers multiple times a year to discuss how to use the information that

Agri Stats collects. Frequently, Agri Stats reviews price “opportunities” with processors

like those discussed above and identifies items and customers to target for price increases.

Agri Stats account managers prepare detailed presentations for their subscribers

highlighting the additional revenue they could make by increasing prices.

       49.    Agri Stats has touted its ability to identify opportunities to raise prices as a

selling point. When one processor contemplated unsubscribing from Agri Stats’ bacon

report, for example, Agri Stats employees encouraged it to continue subscribing by

pointing to $100,000 in additional revenue the processor could make by raising prices on

particular bacon products.




21
  Yet another report, the Operations Profits Report, allows processors to track facility-by-
facility and “dock” prices of their competitors. The dock price refers to the composite
amount a processor receives for a processed chicken, turkey, or hog. This number is
calculated by adding up the amount received for each part of the animal that is sold.
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       50.    The consulting sessions provide an opportunity to directly advise participants

on raising prices to boost industry profits. The in-person consulting sessions also provide

processors with an opportunity to discuss with Agri Stats account managers information

that might not be included in Agri Stats reports, but nevertheless might be gleaned from

the detailed information Agri Stats receives about the operations and sales of nearly every

major participant in the industries in which it operates.

 V.    PROCESSORS USE THE AGRI STATS INFORMATION-SHARING SCHEME TO
       INCREASES PRICES AND RESTRICT THE SUPPLY OF MEAT

       51.    With Agri Stats’ encouragement and facilitation, Agri Stats’ processor-

subscribers use the information collected and distributed by Agri Stats to increase and

stabilize prices and reduce the supply of meat.

       A.     Processors Use Information Shared through Agri Stats Reports and
              Consulting to Raise Prices

       52.    By enabling and encouraging processors to focus on increasing prices on

items priced below their competitors, Agri Stats helps processors boost sales margins,

thereby increasing profits without lowering prices to take sales from competitors. The data

allows processors to profitably raise prices on relatively low-priced products with greater

confidence that they will not lose sales to lower priced rivals. The examples below illustrate

how processors used Agri Stats reports to stabilize and raise prices.

              1.     Tyson Used Agri Stats Sales Data to Increase Chicken Prices

       53.    In January 2010, Tyson embarked on a plan to use competitor data exchanged

through Agri Stats to increase prices in its fresh chicken business, a project that would

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potentially impact more than 3,000 retail outlets. Tyson deployed Agri Stats’ weekly sales

report—data that was often less than a week old—to its sales force for use in negotiating

prices. Tyson management told employees to aggressively push price increases and “[h]ave

price courage.”

       54.    Tyson focused on raising prices on fresh tray pack items (chicken packaged

to sell predominately at grocery stores) to meet the national average as reported by Agri

Stats. Tyson tracked the “variance” between Tyson’s average price and the national

average price, and circulated a chart showing the company’s progress at reducing the

variance. As shown below (Fig. 7), the bottom flat line represents the variance of -3.8 cents

per pound (when Tyson began its pricing initiative) while the top flat line represents

targeted “zero variance.” Each week, Tyson used Agri Stats data to track the variance

between its average price for this category of products and the industry average. The chart

shows how Tyson, by increasing prices, gradually narrowed the variance and brought its

prices in line with the industry average price.




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                                         Figure 7

       55.    Tyson’s price increases were not dictated by independent market forces that

affected costs or supply. Rather, the Agri Stats reports, by providing averages and the top

25th percentile, informed Tyson that it could increase prices on items that its competitors

already sold at higher prices. That is what Tyson did.

       56.    At the same time, Tyson’s competitors were also raising prices, prompting

one Tyson executive to explain the difficulty in closing the variance: “Overall we improved

in sales price in several categories vs the previous week but it is obvious that our




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competition also made improvement. As we have discussed[,] we not only have to increase

our price but we also have to out run our competitors[’] improvements.”

       57.    Tyson and its broiler chicken competitors could focus on raising prices

because they understood that processors did not use Agri Stats data to lower prices. A

Tyson sales executive stated that he instructed his team to “stay ahead” of other broiler

processors’ price increases and that he never considered the possibility that competitors

would respond by reducing their prices to take market share away from Tyson. From

January 2010 to May 2012, Tyson raised the average price of tray pack items by over 20%

and continued raising prices thereafter.

              2.     Sanderson Farms Used Agri Stats Sales Data to Increase
                     Chicken Prices

       58.    Sanderson Farms used Agri Stats reports in a similar manner. For example,

in December 2012, an executive circulated an email stating that the company had secured

more than $18 million in price increases over the previous six months while noting, “We

are not done.” He directed his sales team to continue renegotiating with open-ended

contract customers to increase prices, explaining, “Start with wing help and then address

any other parts that may be deficient. . . . All customers under contract will also be asked

for help on wings and any other items deficient in Agri Stats.”

       59.    The Sanderson executive attached a spreadsheet (Fig. 8) identifying each

customer, the contract date, the difference between current pricing and Agri Stats pricing,

the status of any negotiations, and the amount of additional revenue secured or targeted for

that customer. The spreadsheet ranks customers by the variance between Sanderson’s
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prices and the Agri Stats price, and demonstrates how the company targeted for price

increases those customers who had been receiving prices below Agri Stats prices. The

customers include some of most well-known supermarkets in the United States.




                                        Figure 822

         60.   These examples from Tyson and Sanderson reflect a broader trend. As Tyson

and Sanderson were raising prices, industry-wide profit margins increased dramatically for

broiler chicken processors in 2013 and 2014, according to Agri Stats data.




22
     The United States has obscured customer names in this document.
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              3.     Cargill Used Agri Stats Sales Data to Increase Turkey Prices

       61.    Turkey processors used Agri Stats in a similar manner. In a 2016 presentation

slide entitled “Why AgriStats & Strategic Pricing?” (Fig. 9), Cargill explained that Agri

Stats provides “insight into competitor’s pricing” and identifies “what the market will

bear.” The “goal” of Agri Stats and Strategic Pricing is “forward motion,” represented by

figures raising a curve.




                                         Figure 9

       62.    Consistent with the figures increasing the price curve, Cargill used Agri Stats

data to raise prices. Beginning in late 2013, Cargill began relying on competitor data

exchanged through Agri Stats to “increase [its] Benchmarking focus.” As shown below

(Fig. 10), Cargill increased its prices from three cents below the national average to well

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above the national average as measured by Agri Stats’ net dock price. It would maintain

those increased prices at least into 2016.




                                         Figure 10

              4.     Butterball Used Agri Stats Sales Data to Increase Turkey Prices

       63.    Butterball likewise used Agri Stats sales data to increase turkey prices. In

April 2014, Butterball sales executives and employees sent around Agri Stats sales data

noting “poor results versus the competition.” These “poor results” were turkey products

that were priced below the industry average. A Butterball vice president sent a list of

“Product Group/SKU[s]” identifying these products. Another vice president noted that



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“[m]arkets are at historic highs” and Butterball needed to take advantage of the higher

prices “everywhere we can.”

       64.    In response, a Butterball sales employee stated that Butterball had increased

or would increase targeted turkey product prices for a number of large food distributors.

       65.    While Butterball and Cargill were increasing turkey prices, market-wide

turkey prices increased in a way that cannot be explained by underlying costs of production.

In fact, costs actually decreased during this period according to Agri Stats data. Yet,

consistent with Agri Stats’ advice, processors raised prices. According to Agri Stats’ own

records, turkey processors were able to increase margins by more than 300% between 2013

and 2016 and achieved historic profitability.

              5.     JBS Used Agri Stats Sales Data to Increase Pork Prices

       66.    Pork processors also used Agri Stats sales data to increase prices. Referring

to its focus on Agri Stats pricing data as “margin-based” decision-making, JBS regularly

used Agri Stats to monitor prices and pursue price increases on items sold below the

national average price. For example, in August 2010, a JBS executive instructed his sales

team to identify SKUs that “are LOW relative to the industry.” A JBS employee promptly

identified ten products to consider for price increases based on Agri Stats data and

suggested in several cases that JBS seek further guidance from Agri Stats on pricing. Here

again, JBS’s efforts were part of a broader trend. Profit margins for pork packers as

measured by Agri Stats grew strikingly—over 50% from 2010 to 2011.



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       B.     Agri Stats’ Give-to-Get Policy Makes it Easier for Processors to
              Increase Prices Due to Information Asymmetry

       67.    Processors could increase prices so readily, in part, because meat purchasers

such as grocery stores and restaurants do not have access to the same information. Agri

Stats boasts that no other service offers anything close to what it provides to its subscribers.

As one agricultural economist and former EMI employee admitted, “Agri Stats . . . [has]

access to information about production costs, processes, yields, and structural information

that no other economist or analyst can obtain.” Agri Stats’ President stated that “Agri

Stats[’] biggest strength is that there are no other companies that do [what] we do.” Its

processor co-conspirators agree; one Tyson executive stated that no other service provides

this kind of comprehensive information regarding sales data. Yet Agri Stats has refused to

make the competitively sensitive information it readily distributes among competing

processors available to purchasers.

       68.    This information asymmetry contributes to processors’ ability to ratchet

prices upward. Each processor can identify which of its products are priced below its

competitors’ and raise prices on those products with less concern about price competition.

By contrast, purchasers cannot use the same information to identify when they are paying

comparatively high prices because Agri Stats refuses to sell them its reports. Other

statistical services available to the public (either for free or by subscription) are not

substitutes for the data shared between the processors via Agri Stats because no other

service has the same access to processors’ internal ledgers.


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       69.    In a competitive market, a processor may find it advantageous to lower its

prices, increase its sales, and thereby grow its market share. But Agri Stats reports do not

tell a processor how much additional profit it could make by selling more meat at a lower

price than its rivals. One executive at pork processor Smithfield testified that he did not

know of a single instance in which Smithfield used Agri Stats sales reports to decrease

price. A Tyson sales executive similarly testified that he was unaware of a single instance

in which his broiler sales team used Agri Stats information to reduce prices.

       70.    Encouraging price competition runs counter to Agri Stats’ goal of increasing

the profitability of the industry as a whole. Agri Stats has stated that its “paradigm” is to

“increase [the] profitability of all participants.” Thus, Agri Stats enables and encourages

participants to “chas[e] price” and boost collective industry profits, not compete to

maximize the individual profits of the respective processors.

       71.    Agri Stats’ “rankings” are a case in point. In its sales reports, for example,

Agri Stats ranks processors based on how high their prices are. The processor charging the

highest prices is ranked first, and the processor charging the least is ranked last, regardless

of total profits. These rankings, which depend on competitively sensitive information

collected by Agri Stats, push markets toward anticompetitive pricing by promoting

increased margins.

       72.    Certain processors have even used Agri Stats’ rankings in the sales reports

to give bonuses for sales staff. These employees are therefore incentivized to sell less



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volume at higher prices rather than higher volume at lower prices, which results in higher

prices for consumers.

       C.     Agri Stats Enables Processors to Restrict Supply

       73.    Price and output are interrelated. Generally, when demand stays constant,

decreased supply of a product will increase its price. Broiler chicken, pork, and turkey

processors have used competitively sensitive information exchanged through Agri Stats to

restrict supply, which also leads to stabilized and inflated prices.

       74.    Agri Stats offers more comprehensive, detailed information than publicly

available sources because Agri Stats collects data that comes directly from the internal

ledgers of the processors. The information also covers multiple aspects of the production

process, and includes metrics that indicate current inventories and future production.

       75.    By using Agri Stats to monitor each other’s production plans, processors are

more easily able to coordinate supply restraints and confidently ensure that no one is

attempting to increase production and expand market share. Sanderson Farms and

Pilgrim’s, for example, both explicitly discussed making broiler supply decisions based on

Agri Stats data during earnings calls.

       76.    In the broiler chicken and turkey industries, for example, Agri Stats reports

the number of “breeder” chicks placed at the breeder farms affiliated with each processor

in its live production reports. The time from breeder chick placement to meat delivery is

highly regular, and, unsurprisingly, the number of breeder chicks placed closely predicts

final output. As mentioned above, the Agri Stats user manual for broiler processors states

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that Agri Stats collects and publishes breeder data to allow subscribers to “help forecast

Broilers & pounds produced for future months.” The Agri Stats user manual for turkey

processors contains a similar statement. When processors know the future production plans

of their competitors, they can more easily coordinate supply restraints and anticipate when

price increases will be successful.

       77.       Agri Stats reports on many other supply metrics. Processors can monitor

broiler chicken output through hatchery utilization (i.e., the percentage of incubator space

in a hatchery that is filled with eggs), density of broiler housing, average flock size, and

average age at time of slaughter. Even metrics that may not obviously implicate supply to

a layperson can reveal competitively sensitive information. For example, processors use

certain metrics in Agri Stats reports to estimate a company’s average bird weight, which is

one of the variables processors use to increase or decrease total output. Sanderson Farms

specifically mentioned monitoring competitor bird weights in a May 2013 investor call.

       78.       Agri Stats turkey reports included similar metrics that allowed competitors

to track output, including breeder chicks placed, average flock size, bird age, bird weight,

density of turkey breeder housing, hatchery utilization, and egg set capacity per week.

Butterball, for example, deanonymized the Agri Stats data to track specific competitors’

output trends.

       79.       The pork reports included metrics allowing processors to estimate the total

number of pigs slaughtered and total pounds produced at competing facilities. These



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metrics include “head killed per operating hour,” the number of shifts operated, the number

of hours per week each employee on a shift works, and live pig weight.

      80.    In the broiler chicken market, Agri Stats and EMI also distributed time-

sensitive information regarding current inventories through a “Freezer Inventory Report.”

This weekly report shows the aggregate pounds of various broiler chicken cuts in

processors’ on-site freezers. An example is shown in Figure 11.




                                        Figure 11

      81.    Agri Stats advised processors that freezer inventory closely correlates with

price, and processors understood that connection. Shortly after receiving a March 2011


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Freezer Inventory Report showing six weeks of inventory reductions, Mountaire Farms’

CEO wrote, “Tell those sales people to raise sales prices . . . . [T]he tide has turned and our

sales people must demand more and not be apologetic . . . .”

       82.    Although EMI produced and audited the Freezer Inventory Report, it branded

the report with the Agri Stats logo, referred to it as the “Agri Stats Weekly Inventory

Report” and made the report available only to processors.

       83.    Agri Stats provided pork processors with an “Export Sales” report as another

way to monitor supply. Pork processors have regularly exploited the export market to

constrain domestic supply, even when export sales result in a loss, because restraining

supply significantly increases domestic pork prices. A Smithfield economist estimated that

a 1% reduction (or “disappearance”) in domestic supply would lead to a 3% to 5% domestic

price increase.

       84.    The same Smithfield economist was asked in an internal email, “[W]hy do

we want to go to the export at a loss?” He replied, “Very simple: More exports translate to

higher meat value [domestically].” This statement makes sense only if Smithfield was

confident that no other processor would capture lost domestic sales. Smithfield had reason

to be confident. For example, Seaboard wrote in a weekly update in 2012: “We continue

to chase all the export opportunities we can find to keep excess product off the US market.”

Tyson’s CEO made similar comments as well.

       85.    The Agri Stats export sales reports allowed pork processors to track the

quantity of exports and pricing in non-U.S. countries for identified pork items. Pork

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processors, including Tyson, Smithfield, and Cargill, monitored fluctuations in the volume

of exported pork based on pork cut and country and asked Agri Stats to perform various

custom analyses on exports.

       86.    Just as with prices, Agri Stats has enabled and encouraged processors to

maintain output discipline. Agri Stats routinely sent analyses to processors (sometimes

through EMI) encouraging them to “exercise restraint.” For example, in September 2014,

an Agri Stats vice president circulated a presentation to various broiler companies,

including Wayne Farms, Pilgrim’s, Perdue, and Tyson, commenting that “[t]his summer

every week sets a record for economic returns for the U.S. broiler industry.” The vice

president reminded the processors that “the prospects for coming months remain extremely

favorable” because “[b]reeder placements are not increasing anywhere near enough to

cause a surplus of birds through at least the first half of 2015.” He called the numbers

“stunning results for the industry.” The vice president effusively praised processors for

maintaining “control” over production levels, signaling that they should restrain output to

continue “the amazing times in the chicken business.” Agri Stats reports provided further

assurance that each processor could restrict its own output by monitoring competitor output

through the reports Agri Stats provided.

       D.     Agri Stats Enables Competitors to Exchange Plant and Company Level
              Information

              1.     Processors Exchange and Deanonymize Agri Stats Reports

       87.    Agri Stats reports not only enable the exchange of competitively sensitive

price and supply metrics, they also make it easier for processors to exchange other facility-
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level or company-level information directly—a practice Agri Stats enabled and knew

occurred.

       88.    Many Agri Stats reports provide disaggregated, facility-level data for each

participating facility. The inclusion of comparable, facility-level data makes the sharing of

competitively sensitive information simpler and more likely to be anticompetitive.

       89.    Although Agri Stats ostensibly anonymizes the data to conceal each

company’s and facility’s identity, Agri Stats knows that processors are able to

deanonymize the reports. Once deanonymized, the reports allow processors to monitor

specific competitors’ output, cost, and price metrics even more closely. Processors can

deanonymize Agri Stats reports without their competitors’ assistance. Some metrics

contained in Agri Stats reports are so detailed that deanonymization becomes fairly

straightforward. A Butterball employee once boasted, “I can pick the companies for

rankings with 100% certainty” using information found in Agri Stats’ turkey Bottomline

Report.

       90.    Once a facility is identified—for example, based on a unique feature related

to its operations or product offerings that industry insiders would recognize—the plant can

be tracked across different reports using that identifying metric. Tyson’s Director of

Competitive Intelligence and Analysis testified that once he was able to identify facilities

“on the operations profit page, I can go back through the other books to identify their data

elsewhere. Agristats often takes data to 4 decimal places which allows that number to be

identified somewhere else in the books (live, plant, processing mix, sales, etc…).”

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Similarly, a Pilgrim’s employee who previously worked at Agri Stats informed a work

colleague that information in the Operations Profits book could help identify particular

processors.

       91.    Deanonymization became a regular part of many processors’ analyses of

Agri Stats reports. A Mountaire employee regularly deanonymized Agri Stats’ broiler

chicken reports, considering it part of her official job duties. Other chicken processors such

as Tyson, Pilgrim’s, Perdue, Sanderson Farms, Wayne Farms, Amick Farms, Koch Foods,

and Case Farms have deanonymized various Agri Stats broiler chicken reports.

       92.    Tyson held regular internal meetings in which its employees analyzed

deanonymized Agri Stats pricing information about certain cuts of pork from its

competitors’ facilities. Dubbed the “naming process,” Tyson’s process for deanonymizing

pork facilities involved multiple employees from different departments. Besides Tyson,

Seaboard/Triumph and Smithfield deanonymized various Agri Stats pork reports.

       93.    Cargill tracked its competitors’ pricing based on the turkey Retail and Deli

report provided by Agri Stats. A December 2015 spreadsheet from Cargill (Fig. 12) showed

the company tracking the invoice prices and net sales prices of its largest turkey

competitors—Butterball (“BB”), Jennie-O (“JOTS”), Cooper Farms, and Perdue—in Agri

Stats reports (referred to below as “A/S”):




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                                         Figure 12

       94.    Like Cargill, Butterball, Jennie-O, Cooper Farms, Perdue, and Farbest also

deanonymized various Agri Stats turkey reports.

       95.    By including a list of contributing facilities at the beginning of each report,

Agri Stats makes the deanonymization process easier. At least one subscriber told Agri

Stats that it would stop subscribing to certain reports if the company did not list

participating companies and facilities on those reports.

       96.    Processors informed Agri Stats personnel over the years that several of its

subscribers deanonymized its reports. Nevertheless, Agri Stats took no action to stop this

practice and continued to provide the same reports and consulting services.




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              2.       Agri Stats Employees Directly Facilitate the Exchange of
                       Competitor Data

       97.    Agri Stats employees also served as more direct conduits for the exchange of

competitively sensitive information. For example, in 2016, a Cargill employee emailed its

account manager at Agri Stats, relaying that certain turkey purchasers complained that

Cargill was overpricing ground turkey compared to its competitors. The Cargill employee

explained that this conflicted with her understanding of the Agri Stats data.

       98.    The Agri Stats account manager not only confirmed Cargill’s interpretation,

but she also provided specific pricing information for each grocery store at issue:

              On Wal-Mart 85% - you are about 20 cents higher than other
              primary supplier but 11 cents under another supplier with less
              volume. 93% is well under the leading supplier by 27 cents.
              Ground white is also well under other suppliers ranging from
              7 cents to under 65 cents under.

              HEB 85% - you are 24 cents higher than other supplier.

              Wakefern 85% - you are 38 and 32 cents higher than other 2
              suppliers. 93% looks right in line. Ground white is in line with
              1 other supplier but under 2 other suppliers with less volume
              by 45 cents.

       99.    By providing Cargill with detailed information about competitors’ prices for

specific purchasers, Agri Stats provided Cargill with an advantage that was unavailable to

Cargill’s customers.

       100.   In another incident, the same Agri Stats account manager and Cargill

employee referenced “ad hoc comments” made by the Agri Stats employee during an onsite

visit before asking, “If we set a goal to be 3¢ above Natl Ave – will we be beating our key

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competitors? Can we spot check this with you say 1/quarter to ensure we’re focused on the

right pricing improvements?”

       101.   The Agri Stats employee responded with a list of product categories and

made specific recommendations for how much Cargill should raise prices. For example,

the Agri Stats employee stated “Food Service[:] Cargill $116k fav[orable] – most

opportunity here: ranking economic impact you come out 7th. The #1 company is $4.7m

fav. I would shoot for being $2.5m fav which would put you competitive with who you are

chasing in food service.”

       102.   These individual interactions align with Agri Stats’ mission to increase

processors’ profitability through increased prices and reduced output. Despite managing

the exchange of sensitive information between competitors, Agri Stats has no antitrust

compliance program. It does not conduct antitrust training for its employees, despite

regularly consulting with direct competitors.

VI.    AGRI STATS ENTERED INTO ANTICOMPETITIVE AGREEMENTS TO SHARE
       COMPETITIVELY SENSITIVE INFORMATION WITH PROCESSORS IN THE
       BROILER CHICKEN, PORK, AND TURKEY INDUSTRIES

       103.   Agri Stats agreed with the broiler chicken, pork, and turkey processors

identified in paragraph 14 above to exchange competitively sensitive information and

encouraged processors to use it for the anticompetitive purposes of stabilizing and raising

prices and restricting supply. As part of the conspiracy, processors used Agri Stats to

exchange competitively sensitive information. The structure of the industries, nature of the

information shared, market power of the subscribers, and purpose and effect of the

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information-sharing scheme confirm that each of these agreements unreasonably restrains

trade.

         A.     Agri Stats and its Co-Conspirators Agreed to Share Competitively
                Sensitive Information

         104.   In each of the broiler chicken, pork, and turkey markets, the processors

agreed with Agri Stats and with each other to pay Agri Stats to manage the exchange of

competitively sensitive information among the processors. The Agri Stats broiler chicken

information-exchange conspiracy remains ongoing. Agri Stats paused its pork and turkey

reporting around late 2019, but Agri Stats wants to resume the reporting in the future.

         105.   Each processor agreed to provide current, competitively sensitive

information to its competitors through Agri Stats, knowing it would receive reports that

included current, competitively sensitive information of its competitors in return. By

entering into an agreement with Agri Stats, each processor also agreed with competing

processors that subscribed to Agri Stats to exchange competitively sensitive information in

the form Agri Stats provided. Each processor ratified these agreements each time it

submitted data to Agri Stats. Tyson internally referred to the decision to participate in Agri

Stats broiler reports as “support[ing] an industry effort” (emphasis added).

         106.   Agri Stats regularly listed current subscribers in presentations when pitching

Agri Stats’ services to new and existing clients, leaving no doubt about who was

participating in the information-exchange scheme and warning them that their competitors

would enjoy an advantage if they demurred. New subscribers understood that they would


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provide competitively sensitive information to current subscribers and receive

competitively sensitive information from these current subscribers in return.

       107.   Agri Stats’ “give-to-get” policy reinforced the collective nature of the

agreement, and the publication of the participants at the front of every report allowed Agri

Stats’ subscriber customers to monitor the conspiracy and ensure that if they were

providing competitively sensitive information, their competitors were doing so as well. The

processors in each of the broiler chicken, pork, and turkey industries understood that the

greater the participation in the Agri Stats scheme, the more useful the scheme would

become.

       B.     The Nature of the Information Collected and Distributed by Agri Stats
              Has Facilitated the Suppression of Competition Among Processors

       108.   Agri Stats compiles highly sensitive competitive information that processors

would not share directly and redistributes that information in ways that allow processors

participating in the scheme to know where they could stabilize and raise prices and when

they could restrict production.

       109.   The information exchanges operated by Agri Stats share several

characteristics that enable processors to suppress competition:

       a.     Sensitivity: Agri Stats reports competitively sensitive price, output, and cost

data that is not otherwise available to processors. Processors can and do deanonymize

certain information and link data to particular competitors.




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       b.     Timeliness: Agri Stats’ information is current. Its weekly reports generally

supply information from the prior week, while its monthly reports include data from the

past one-to-two months. Some information is forward-looking and predictive.

       c.     Detail: Agri Stats provides highly detailed information that allows processors

to dampen competition. Agri Stats reports cost and production information on a facility-

by-facility and company-by-company basis, allowing processors a detailed look at their

competitors’ operations. Agri Stats provides price rankings as well as average and top

quartile sales prices for products identified at the near-SKU level, allowing processors to

see how their sales compare to market prices on a product-by-product basis.

       d.     Asymmetry: Agri Stats prohibits non-processors from purchasing Agri Stats’

information, creating an information asymmetry between processors and purchasers that

contributes to higher prices.

       C.     The Market Power of Agri Stats’ Co-Conspirators

       110.   Collectively, the participating broiler processors (listed in paragraph 14)

have market power over the sale of broiler chicken. They have accounted for at least 90%

of the broiler chicken market from 2008 to the present. Agri Stats itself has repeatedly

estimated that its broiler chicken subscribers made up 98% of the broiler chicken market.

Collectively, Agri Stats’ broiler processor co-conspirators have the power to restrict output

and increase prices in the broiler chicken market.

       111.   Collectively, the participating pork processers (listed in paragraph 14) had

market power over the sale of pork. They have accounted for at least 80% of the pork

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market from 2008 to 2019, the time period during which Agri Stats was still issuing pork

reports. During this period, Agri Stats repeatedly claimed that it covered 90% of the pork

market as measured by number of pigs processed. Collectively, Agri Stats’ pork co-

conspirators had the market power to restrict output and increase prices in the pork market

when Agri Stats was still issuing pork reports. Those same pork processors would

collectively have market power today if they resumed their information exchange through

Agri Stats.

       112.   Collectively, the participating turkey processors (listed in paragraph 14) had

market power in the market for the sale of turkey. They have accounted for approximately

90% of the turkey market from at least 2008 until 2018.23 During this period, Agri Stats

repeatedly claimed that it covered 95% of the turkey market. Collectively, Agri Stats’

turkey co-conspirators had the power to restrict output and increase prices in the turkey

market. Those same turkey processors would collectively have market power today if they

resumed their information exchange through Agri Stats.

       D.     Agri Stats’ Conduct Has the Purpose and Effect of Suppressing
              Competition, Increasing Prices, and Limiting Supply

       113.   Agri Stats understands that its reports have enabled broiler chicken, pork,

and turkey processors to stabilize and increase prices and reduce supply. Agri Stats

regularly identifies “opportunities” for processors to raise prices or reduce supply by




23
  Agri Stats continued producing turkey reports in 2019, but certain large turkey processors
no longer participated.
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collecting and analyzing the competitively sensitive information provided by processors.

Agri Stats refuses to offer its reports to processors’ customers.

       114.   Agri Stats seeks to profit from its anticompetitive information exchanges. Its

customers want a service that will allow them to increase profitability through

anticompetitive pricing and output decisions. Thus, Agri Stats has knowingly created a

product that allows its subscribers to do just that.

       115.   By participating in these anticompetitive information exchanges, Agri Stats

and its processor co-conspirators have harmed and continue to harm the competitive

process in the broiler chicken, pork, and turkey markets. Rather than allowing the ordinary

give and take of the marketplace to determine price and output, Agri Stats and its co-

conspirators have distorted each alleged market by asymmetrically sharing competitively

sensitive information. In each market, the processor-subscribers used Agri Stats

information to stabilize and increase prices or reduce supply or both.

       116.   Even standing alone, Agri Stats’ agreements with processors allowed them

to suppress competition among them. The information provided to processors allowed

them to pursue strategies that they likely would not have absent the agreements. Each

participating processor could more closely align its prices and output with those of its

competitors, harm the competitive process, distort the bargaining and price-setting

mechanisms, and suppress competition. A key purpose of Agri Stats’ reports is to enable

processors to suppress competition, stabilize and increase prices, and reduce supply.



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       117.   Thus, the effects, probable and actual, of Agri Stats’ information-exchange

schemes are to stabilize and increase prices, decrease supply, or both, in the broiler chicken,

pork, and turkey markets.

       118.   There is no legitimate procompetitive justification for Agri Stats’ conduct.

VII.   RELEVANT MARKETS

       119.   Agri Stats has orchestrated an anticompetitive information-sharing scheme

in at least three relevant markets: (i) broiler chicken sold in the United States, (ii) pork sold

in the United States, and (iii) turkey sold in the United States.

       A.     The Sale of Broiler Chicken in the United States Is a Relevant Market

       120.   The sale of broiler chicken meat in the United States is a relevant market.

Broiler chicken refers to broiler chicken meat that comes in a variety of forms, fresh or

frozen.

       121.   Academic estimates show that broiler chicken demand elasticity is low,

indicating that there are no close economic substitutes for chicken. Academic estimates for

cross-elasticity indicate that pork, turkey, and beef are not close substitutes for chicken.

       122.   Consumers find chicken to be distinct from other proteins. Most consumers

view chicken as healthier and cheaper than red meats like beef and pork, and they eat

chicken in different contexts than turkey, which is generally consumed around the holidays,

in ground form, and as deli meat. Turkey is not served in restaurants as often as chicken—

a basic fact that turkey processors like Cooper Farms have noted.



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       123.   The broiler chicken conspirators’ behavior reflects that they considered the

sale of broiler chicken meat to be a relevant market. Agri Stats has produced standard

reports for broiler chicken processors to learn highly granular information about their

competitors’ operations and sales. Agri Stats and EMI have developed and marketed

specific services targeted to broiler chicken processors that are not available, for example,

to the processors of other meats like turkey. Agri Stats frequently has provided the

combined market share for broiler chicken processors that participate in its reports,

indicating that Agri Stats believes the sale of broiler chicken is a market.

       124.   Large protein purchasers have dedicated procurement personnel for chicken

(in its various forms). Processors that operate in multiple protein industries, like Tyson,

JBS (Pilgrim’s), and Perdue, have separate divisions for the sale of chicken. Grocery stores

group chicken products separately from pork, turkey, and beef products, reflecting that

consumers view the proteins differently.

       125.   Industry publications and analysts like WATT Poultry consider broiler

chicken meat to be a distinct economic unit. Broiler processors and industry publications,

including Agri Stats, consider whole bird composite prices to be relevant metrics when

assessing prices and demand for broiler chicken.

       126.   The market for broiler chicken meat is concentrated. The top three

processors, Tyson, Pilgrim’s, and Sanderson-Wayne, constitute over 50% of the market as

measured in pounds of broiler chicken processed. The top ten firms account for 80% of the



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market. A 2012 economic analysis prepared for broiler chicken processors described the

broiler chicken market as “highly concentrated.”

       127.   There are high barriers to becoming a broiler processor. The start-up capital

necessary to compete with today’s broiler chicken processors would be substantial. Broiler

chicken processors have large economies of scale, utilizing large and expensive production

facilities. For example, Tyson estimated the construction costs of one new broiler chicken

complex to be $320 million in 2017. Without those economies of scale, it would be

extremely difficult to compete. Broiler chicken processors tend to be vertically integrated,

meaning a single company controls most aspects of the supply chain. To compete

effectively, a new entrant would need hundreds of millions of dollars, substantial “know

how,” and an opportunity to negotiate with large broiler chicken purchasers. A new

company fitting these criteria will be rare.

       128.   Broiler chicken is a commodity. The broiler chicken meat of one processor,

like Tyson, is highly interchangeable with—if even distinguishable from—the broiler

chicken meat of another processor, like Pilgrim’s. In commodity markets, firms compete

primarily on price, as opposed to quality or some other form of product differentiation.

       129.   In sum, the broiler chicken market has characteristics that make information

exchanges more likely to be anticompetitive. The broiler chicken market has relatively few

competitors. Broiler chicken is a fungible, commodity product subject to inelastic demand.

The barriers to entry in the broiler chicken market are very high.



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       B.     The Sale of Pork in the United States Is a Relevant Market

       130.   The sale of pork in the United States is a relevant market. Pork refers to pig

meat that can come in a variety of forms, including fresh or frozen.

       131.   Pork does not have any close economic substitutes. Academic estimates

show that pork demand elasticity is low, indicating that there are no close economic

substitutes for pork. Academic estimates for cross-elasticity indicate that chicken, turkey,

and beef are not close substitutes for pork.

       132.   Consumers find pork to be distinct from other proteins. Consumers purchase

less pork than chicken or beef and tend to value pork more for its taste than its health

benefits or cost. Pork consumption has remained mostly flat since the 1970s.

       133.   The pork conspirators’ behavior shows that they considered pork to be a

relevant market. Agri Stats has produced standard reports to enable pork processors to learn

highly granular information about their competitors’ operations and sales. Agri Stats and

EMI have developed and marketed specific services targeted to pork processors that are

not available to, for example, the producers of other meats like beef. Agri Stats frequently

has provided the market shares of the pork processors that subscribe to its services,

indicating that Agri Stats believes it is a distinct market. Pork processors frequently have

referred to a “pork market.”24




24
  For example, Tyson CEO Donnie Smith stated in a 2016 earnings call: “The wholesale
pork market has moved up and chicken has not moved up near as fast as the wholesale pork
market.”
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         134.   Large protein purchasers have dedicated procurement personnel for pork.

Processors that operate in multiple protein industries, like Tyson, JBS, and Perdue, have

separate divisions for the sale of pork. Grocery stores group pork products separately from

chicken, turkey, and beef products, reflecting that consumers view the proteins differently.

         135.   Pork processors and industry publications, including Agri Stats, view the

pork “cutout” value to be a relevant metric when assessing prices and demand for pork.

The pork cutout value (often referred to as the Pork Carcass Cutout) indicates the average

value of a hog carcass based on the average prices received for the various cuts of pork

produced during a given period of time.

         136.   Pork is a concentrated market. The top three pork processors, Smithfield,

JBS, and Tyson, make up over 60% of the market as measured by slaughter capacity.25 The

top ten processors make up nearly 90% of the market. Pork processor Triumph stated

internally that “the US pork processing industry is highly concentrated, with the top ten

processors representing over 88.3% of the total federally inspected industry capacity as of

late 2010.” Since then, the industry has become more concentrated.

         137.   There are high barriers to becoming a pork processor. The start-up capital

necessary to compete with today’s pork processors would be substantial. Pork processors

have large economies of scale, utilizing large and expensive processing facilities. Without

those economies of scale, it would be extremely difficult to compete. The estimated cost



25
     Slaughter capacity is a typical method of measuring pork processor market shares.
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of constructing a large pork processing facility today is approximately $500 million. Many

pork processors are vertically integrated, a trend that has been increasing in recent years.

To compete effectively, a new entrant would need hundreds of millions of dollars,

substantial “know how,” and an opportunity to negotiate with large pork purchasers. A new

company meeting these criteria will be rare.

       138.   Pork is a commodity. The pork of one processor is highly interchangeable

with the pork of another processor. The pork processors themselves acknowledge that pork

is a commodity. An internal document from Triumph stated that “[t]he wholesale pork

market is first and foremost a commodity market, defined as a market where the products

of all sellers are very similar, and price will tend to fluctuate depending on available

supplies and level of interest . . . . In most cases, the wholesale pork marketplace is best

summed up with the statement, ‘Pork is pork.’” Smithfield’s former Senior Manager of

Pricing acknowledged that it is not possible to differentiate a processor’s pork once

packaging is removed.

       139.   In sum, the pork market has characteristics that make information exchanges

more likely to be anticompetitive.

       C.     The Sale of Turkey in the United States Is a Relevant Market

       140.   The sale of turkey in the United States is a relevant market. Turkey refers to

turkey meat that comes in a variety of forms, fresh or frozen.




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       141.   Academic estimates show that turkey demand elasticity is low, indicating

that there are no close economic substitutes for turkey. Academic estimates for cross-

elasticity indicate that chicken, pork, and beef are not close substitutes for turkey.

       142.   Consumers find turkey to be distinct from other proteins. Consumption of

turkey grew considerably in the 1970s and 1980s and has remained relatively flat since.

Consumers typically view turkey as a healthier, lower-fat protein than red-meat

alternatives, but purchase turkey in fewer contexts than chicken. A large percentage of

turkey is consumed during holidays (particularly Thanksgiving) as whole-birds; otherwise,

consumers tend to purchase turkey in ground form or as deli meat.

       143.   The turkey conspirators’ behavior reflects that they considered the sale of

turkey to be a relevant market. Agri Stats’ reports have grouped turkey processors together

for comparison. Agri Stats and EMI have developed and marketed specific services

targeted to turkey processors that they did not make available to processors of other meats,

like chicken. Agri Stats frequently has referenced the collective market share of the turkey

processors that subscribed to its turkey reports, indicating that Agri Stats believes it is a

distinct market.

       144.   Processors that operate in multiple protein industries, like Tyson and Perdue,

have separate divisions for the sale of turkey. Grocery stores group turkey products

separately from chicken, pork, and beef products, reflecting that consumers view the

proteins differently.



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       145.    Industry publications like WATT Poultry also consider turkey to be a

separate economic market. Turkey processors and industry publications, including Agri

Stats, use composite whole bird prices as relevant metrics for assessing price and demand

of turkey.

       146.    The turkey market is concentrated. The top four processors, Butterball,

Jennie-O, Cargill, and Farbest, make up over 50% of the market as measured by live pounds

processed. The top ten turkey processors make up over 80% of the market.

       147.    There are high barriers to becoming a turkey processor. The start-up capital

necessary to compete with today’s turkey processors would be substantial. Turkey

processors have large economies of scale, utilizing large and expensive production

facilities. For example, Prestage Farms estimated the construction costs of one new turkey

processing facility to be $150 million in 2021. Without those economies of scale, it would

be difficult to compete.

       148.    Turkey processors tend to be vertically integrated. To compete effectively, a

new entrant would need hundreds of millions of dollars, substantial “know how,” and an

opportunity to negotiate with large turkey purchasers. A new company meeting these

criteria will be rare.

       149.    Turkey is a commodity. The turkey of one processor is highly

interchangeable—if even distinguishable—with the turkey of another processor. The

turkey processors, along with industry analysts, refer to turkey as a commodity. For

example, in an internal strategy document, Cargill refers to turkey as a “commodity

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business.” Butterball noted internally that “Overall, RETAILERS do not see our product

differentiation as meaningful. . . [,]” because turkey products, like turkey bacon, are

interchangeable regardless of brand.

        150.   In sum, the turkey market has characteristics that make information

exchanges more likely to be anticompetitive.

        D.     Geographic Market

        151.   The United States is a relevant geographic market for the sale of broiler

chicken, pork, and turkey. Agri Stats, the processors, courts, and industry specialists all

analyze these meat markets on a national basis. Imports into the United States for each of

these meats are minimal, with less than 1% of domestic broiler and turkey production

imported and around 3% of domestic pork imported. Sales of these proteins in the United

States must comply with U.S. law.

VIII.   JURISDICTION, VENUE, AND COMMERCE

        152.   The United States brings this action pursuant to Section 4 of the Sherman

Act, 15 U.S.C. § 4, to prevent and restrain Agri Stats from violating Section 1 of the

Sherman Act, 15 U.S.C. § 1.

        153.   The States of California, Minnesota, North Carolina, and Tennessee, by and

through their respective Attorneys General, bring this action pursuant to Section 16 of the

Clayton Act, 15 U.S.C. § 26, to prevent and restrain Agri Stats from violating Section 1 of

the Sherman Act, 15 U.S.C. § 1.



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       154.   The Court has subject matter jurisdiction under Section 4 of the Sherman

Act, 15 U.S.C. § 4, and 28 U.S.C. §§ 1331, 1337(a), 1345.

       155.   The Court has personal jurisdiction over Agri Stats; venue is proper in this

District under Section 12 of the Clayton Act, 15 U.S.C. § 22, and under 28 U.S.C. § 1391

because Agri Stats transacts business and is found within this District.

       156.   Multiple co-conspirator processors are headquartered in this District,

including Hormel, which is headquartered in Austin, Minnesota and has been an Agri Stats

pork and turkey subscriber, and Jennie-O, which is also headquartered in Austin,

Minnesota and has been an Agri Stats turkey subscriber. Hormel has also received EMI

reports.

       157.   Gold’n Plump Poultry, an Agri Stats broiler subscriber until 2016, was

headquartered in St. Cloud, Minnesota and operated a broiler processing facility in Cold

Spring, Minnesota. In 2016, Pilgrim’s, an Agri Stats subscriber, purchased Gold’n Plump,

including the Cold Spring facility. Pilgrim’s now exchanges information with Agri Stats

regarding that Minnesota-based facility.

       158.   Sparboe Farms is also a current Agri Stats egg subscriber headquartered in

Litchfield, Minnesota.

       159.   Agri Stats has executed contracts with Hormel and Jennie-O for which the

governing law, jurisdiction, and venue is Minnesota. Agri Stats has given in-person

presentations in Minnesota, including an in-person pitch to Hormel in which Agri Stats

listed every Agri Stats subscriber in all proteins.

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       160.    Agri Stats has sent its reports to processors located in Minnesota in the broiler

chicken, pork, and turkey industries. Agri Stats’ conduct has harmed the United States

markets for broiler chicken, pork, and turkey, which includes harm in Minnesota, as well

as California, North Carolina, and Tennessee.

       161.    The broiler chicken, pork, and turkey markets are national markets, and Agri

Stats’ and its co-conspirators’ conduct has substantially affected interstate commerce in

each of the broiler chicken, pork, and turkey markets.

  IX. VIOLATIONS ALLEGED

       A.      Count 1: Sherman Act Section 1 – Anticompetitive Information
               Exchange Harming Broiler Chicken Market

       162.    Plaintiffs repeat and reallege each and every paragraph in this Complaint as

if fully set forth herein.

       163.    Since at least 2008, Agri Stats and its broiler chicken processor co-

conspirators have agreed with each other to exchange competitively sensitive information

regarding prices, output, and costs. These agreements have unreasonably restrained trade,

suppressed competition, and had the actual and likely effect of stabilizing and increasing

prices and reducing output in the United States broiler chicken market, in violation of

Section 1 of the Sherman Act, 15 U.S.C. § 1.

       B.      Count 2: Sherman Act Section 1 – Anticompetitive Information
               Exchange Harming Pork Market

       164.    Plaintiffs repeat and reallege each and every paragraph of this Complaint as

if fully set forth herein.

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       165.    Since at least 2008, Agri Stats and its pork processor co-conspirators have

agreed with each other to exchange competitively sensitive information regarding prices,

output, and costs. These agreements have unreasonably restrained trade, suppressed

competition, and had the actual and likely effect of stabilizing and increasing prices and

reducing output in the United States pork market, in violation of Section 1 of the Sherman

Act, 15 U.S.C. § 1.

       C.      Count 3: Sherman Act Section 1 – Anticompetitive Information
               Exchange Harming Turkey Market

       166.    Plaintiffs repeat and reallege each and every paragraph of this Complaint as

if fully set forth herein.

       167.    Since at least 2008, Agri Stats and its turkey processor co-conspirators have

agreed with each other to exchange competitively sensitive information regarding prices,

output, and costs. These agreements have unreasonably restrained trade, suppressed

competition, and had the actual and likely effect of stabilizing and increasing prices and

reducing output in the United States turkey market, in violation of Section 1 of the Sherman

Act, 15 U.S.C. § 1.

 X.    REQUESTED RELIEF

       168.    Agri Stats’ business model centers on the recruitment of competitors in

various agricultural protein industries to participate in anticompetitive information

exchanges. This conduct has stabilized and increased prices and reduced output for staple

meat items.

       169.    Accordingly, Plaintiffs request that this Court:
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       a.     rule that Agri Stats’ and its broiler co-conspirators’ anticompetitive

information exchange has unreasonably restrained trade and is unlawful under

Section 1 of the Sherman Act, 15 U.S.C. § 1;

       b.     rule that Agri Stats’ and its pork co-conspirators’ anticompetitive

information exchange has unreasonably restrained trade and is unlawful under

Section 1 of the Sherman Act, 15 U.S.C. § 1;

       c.     rule that Agri Stats’ and its turkey co-conspirators’ anticompetitive

information exchange has unreasonably restrained trade and is unlawful under

Section 1 of the Sherman Act, 15 U.S.C. § 1;

       d.     permanently enjoin Agri Stats and EMI from facilitating the exchange

of sensitive information;

       e.     permanently enjoin Agri Stats and EMI from continuing to engage in

the anticompetitive practices described herein and from engaging in any other

practices with the same purpose and effect as the challenged practices;

       f.     grant other relief as required by the nature of this case and as is just

and proper to prevent the recurrence of the alleged violations and to dissipate their

anticompetitive effects; and

       g.     award each Plaintiff, as applicable, an amount equal to its costs,

including reasonable attorneys’ fees, incurred in bringing this action; and award

such other relief to each Plaintiff as the Court may deem just and proper.



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Dated this 6th day of November, 2023

Respectfully submitted,

FOR PLAINTIFF UNITED STATES OF AMERICA,

 /s/ Jonathan S. Kanter                               /s/ Ann. M. Bildtsen
 JONATHAN S. KANTER                                   ANN M. BILDTSEN
 Assistant Attorney General for Antitrust             Attorney ID No. 027149
                                                      First Assistant United States Attorney
 /s/ Doha Mekki                                       Attorney for the United States Acting
 DOHA MEKKI                                           Under Authority Conferred by
 Principal Deputy Assistant Attorney                  28 U.S.C. § 515
 General for Antitrust
                                                      /s/ Liles H. Repp
 /s/ Michael B. Kades                                 LILES H. REPP
 MICHAEL B. KADES                                     Attorney ID No. 0400692
 Deputy Assistant Attorney General for                Assistant United States Attorney
 Antitrust                                            600 U.S. Courthouse
                                                      300 South Fourth Street
 /s/ Brian R. Young                                   Minneapolis, MN 55415
 BRIAN R. YOUNG                                       Phone: (612) 664-5600
 Acting Director of Litigation                        Fax: (612) 664-5788
                                                      Email: Liles.Repp@usdoj.gov
 /s/ Ryan Danks
 RYAN DANKS                                           /s/ Mark H.M. Sosnowsky
 Director of Civil Enforcement                        MARK H.M. SOSNOWSKY (Pro
                                                      Hac Vice)
 /s/ Miriam R. Vishio                                 EUN-HA KIM
 MIRIAM R. VISHIO                                         Senior Litigation Counsel
 Deputy Director of Civil Enforcement
                                                      /s/ William M. Friedman
 /s/ Daniel S. Guarnera                               WILLIAM M. FRIEDMAN (Pro Hac
 DANIEL S. GUARNERA*                                  Vice)
 Chief, Civil Conduct Task Force                      JAMES H. CONGDON (Pro Hac
                                                      Vice)
 /s/ Kate M. Riggs                                    SILVIA DOMINGUEZ-REESE (Pro
 KATE M. RIGGS*                                       Hac Vice)
 Acting Assistant Chief, Civil Conduct Task           PETER A. NELSON (Pro Hac Vice)
 Force                                                DEVIN L. REDDING*
                                                          Trial Attorneys

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                                          United States Department of Justice
                                          Antitrust Division
                                          450 Fifth Street NW, Suite 8600
                                          Washington, DC 20530
                                          Tel: 202-598-6490
                                          Fax: 202-598-8331
                                          Mark.Sosnowsky@usdoj.gov
                                          William.Friedman2@usdoj.gov
                                          James.Congdon@usdoj.gov
                                          Silvia.Dominguez-Reese2@usdoj.gov
                                          Peter.Nelson@usdoj.gov
                                          Devin.Redding@usdoj.gov

                                          Attorneys for the United States
                                          *Pro Hac Vice Motions Forthcoming




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FOR PLAINTIFF STATE OF MINNESOTA

 KEITH ELLISON
 Attorney General of Minnesota

 s/ Katherine A. Moerke
 JAMES CANADAY (No. 030234X)
 Deputy Attorney General
 KATHERINE A. MOERKE (No. 0312277)
 ELIZABETH ODETTE (No. 0340698)
 SARAH DOKTORI (No. 0403060)
 Assistant Attorneys General

  445 Minnesota Street, Suite 1400
  St. Paul, Minnesota 55101-2130

  james.canaday@ag.state.mn.us
  Telephone: (651) 757-1421
  katherine.moerke@ag.state.mn.us
  Telephone: (651) 757-1288
  elizabeth.odette@ag.state.mn.us
  Telephone: (651) 728-7208
  sarah.doktori@ag.state.mn.us
  Telephone: (651) 583-6694

 Attorneys for Plaintiff State of Minnesota and Local Counsel for Plaintiff States of
 California, North Carolina, and Tennessee




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FOR PLAINTIFF STATE OF CALIFORNIA:

  ROB BONTA
  Attorney General of California

  /s/ Robert McNary
  ROBERT MCNARY*
  Deputy Attorney General
  NICOLE GORDON*
  Deputy Attorney General

  JAMIE MILLER*
  Supervising Deputy Attorney General

  PAULA BLIZZARD*
  Senior Assistant Attorney General

  Office of the Attorney General
  California Department of Justice
  300 S. Spring St.
  Los Angeles, California 90013
  Telephone: (213) 269-6283
  Email: Robert.McNary@doj.ca.gov

  Attorneys for Plaintiff State of California
  *Pro Hac Vice Motions Forthcoming




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FOR PLAINTIFF STATE OF NORTH CAROLINA:

 JOSHUA H. STEIN
 Attorney General of North Carolina

 /s/ Jonathan R. Marx
 JASMINE MCGHEE*
 Senior Deputy Attorney General
 JONATHAN R. MARX*
 Special Deputy Attorney General
 KUNAL CHOKSI*
 Special Deputy Attorney General

 114 W. Edenton Street
 Raleigh, NC 27603
 Telephone: (919) 716-8611
 Email: jmarx@ncdoj.gov

 Attorneys for Plaintiff State of North Carolina
 *Pro Hac Vice Motions Forthcoming




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FOR PLAINTIFF STATE OF TENNESSEE:

  JONATHAN SKRMETTI
  Attorney General of Tennessee

  /s/ Ethan Bowers
  ETHAN BOWERS*
  Assistant Attorney General

  Office of the Tennessee Attorney General
  P.O. Box 20207
  Nashville, Tennessee 37202
  Email: Ethan.Bowers@ag.tn.gov
  Telephone: (615)741-8091

  Attorneys for Plaintiff State of Tennessee
  *Pro Hac Vice Motion Forthcoming




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